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                                                THE CITY OF NEW YORK                                          Ilona J. Ehrlich
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                                                                        November 1, 2024

        BY ECF
        Honorable Nina R. Morrison
        United States District Judge
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, NY 11201

                             Re: Maureen Hurley v. The Department of Education of the City of New York
                                 Docket No. 24-CV-01664 (NRM) (LKE)

        Dear Judge Morrison:

                       I am an Assistant Corporation Counsel in the office of Muriel Goode-Trufant,
        Acting Corporation Counsel of the City of New York, attorney for defendant The Department of
        Education of the City of New York in the above-referenced action. Pursuant to Your Honor’s
        Individual Practice Rule 5.2.3.1, I write to inform the Court that Defendant’s motion to dismiss
        the Complaint pursuant to Rule 12(b) of the Federal Rules of Civil Procedure is fully briefed. The
        following moving papers have been electronically filed:

             •   Notice of Motion to Dismiss the Complaint

             •   Defendant’s Memorandum of Law in Support of Defendant’s Motion to Dismiss the
                 Complaint

             •   Declaration of Kathleen M. Linnane in Support of Defendant’s Motion to Dismiss the
                 Complaint, along with Exhibit A

             •   Plaintiff’s Opposition to Defendant’s Motion to Dismiss

             •   Defendant’s Reply Memorandum of Law in Further Support of its Motion to Dismiss and
                 corresponding affidavit of service
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                As noted in the affidavits of service, Defendant’s reply was timely served on
 Plaintiff on October 31, 2024. However, due to unanticipated technical difficulties yesterday, I
 was unable to file the fully briefed motion on ECF until today.

                                                            Respectfully submitted,
                                                            /s/ Ilona J. Ehrlich
                                                            Ilona J. Ehrlich
                                                            Assistant Corporation Counsel

 cc:    Maureen Hurley, (By Mail and Email)
        18 Kisco Park Drive
        Mount Kisco, NY 10549




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